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                        No. 21-3162


   In the United States Court of Appeals
           for the Seventh Circuit
                         __________
                      ARTHUR GRADY,
                   PETITIONER-APPELLANT,
                             v.
                       DAVID GOMEZ,
                   RESPONDENT-APPELLEE.
                         __________
         APPEAL FROM THE UNITED STATES DISTRICT COURT
    FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION


                     CASE NO. 1:20-CV-02530
                THE HONORABLE MARY M. ROWLAND
                         __________




   BRIEF AND REQUIRED SHORT APPENDIX OF
    PETITIONER-APPELLANT, ARTHUR GRADY


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                  CIRCUIT RULE 26.1 DISCLOSURE STATEMENT

Appellate Court No.: 21-3162
Short Caption: Grady v. Gomez

   (1)     The full name of every party that the attorney represents in the case (if the
           party is a corporation, you must provide the corporate disclosure infor-
           mation required by Fed. R. App. P. 26.1 by completing the item #3):

           Arthur Grady

   (2)     The names of all law firms whose partners or associates have appeared for
           the party in the case (including proceedings in the district court or before
           an administrative agency) or are expected to appear for the party in this
           court:

           WINSTON & STRAWN LLP

   (3)     If the party or amicus is a corporation:

           (i)     Identify all its parent corporations, if any; and

                   N/A

           (ii)    List any publicly held company that own 10% or more of the party’s
                   or amicus’ stock:

                   N/A

Attorney’s Signature:      /s/ Kelly Mannion Ellis             Date: November 23, 2022

Attorney’s Printed Name: Kelly Mannion Ellis

Please indicate if you are Counsel of Record for the above listed parties pursuant to
Circuit Rule 3(d).         Yes

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                         JURISDICTIONAL STATEMENT

      This appeal arises from a state prisoner’s petition for a writ of habeas corpus

under 28 U.S.C. § 2254 in the U.S. District Court for the Northern District of Illinois.

The district court denied habeas relief but issued a certificate of appealability, giving

rise to appellate jurisdiction in this Court. A2–14, Grady v. Gomez, 2021 WL 5006691

(N.D. Ill. Oct. 28, 2021); see also 28 U.S.C. §§ 1291, 2253(a), 2253(c)(1)(A). Petitioner

filed a timely notice of appeal on November 19, 2021. R. 1.

                  INTRODUCTION AND ISSUES PRESENTED

      This habeas appeal arises from the tragic robbery and murder of Ralph Turner

Jr. on a snowy night in January 2009. A classic case of “he said, he said,” the state’s

case at trial rested on the testimony of a single, biased co-defendant, and some minor

circumstantial evidence. The state’s sole theory at trial was that, after a long night

at the casino, Petitioner Arthur Grady followed Turner home and attempted to rob

him of casino proceeds. In the process, Grady shot and killed him.

      But the state presented no direct evidence to support this theory: no eye-

witness testimony that Grady pulled the trigger, and no forensics evidence of any

kind tying Grady to the murder. Nevertheless, the jury convicted Grady of first-

degree murder. But a glaring and fundamental problem with the conviction exists:

the jury answered a special verdict question, unanimously finding that Grady was

not guilty of discharging the firearm that caused Turner’s death. The jury’s answer

to the special verdict question creates an irreconcilable conflict that mandates the

setting aside of his conviction as a matter of law. Unfortunately, Grady’s counsel on




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direct appeal failed to recognize and raise this, implicating constitutional concerns

about ineffective assistance under Strickland v. Washington, 466 U.S. 668 (1984).

      Justice “cannot be realized if the poor man charged with crime has to face his

accusers without a lawyer to assist him.” Gideon v. Wainwright, 372 U.S. 335, 344

(1963). That right encompasses not just the presence of counsel but the effective

assistance of counsel “to produce just results.” Strickland, 466 U.S. at 685. The failure

of Grady’s appellate counsel to raise an obvious sufficiency claim stemming from

inconsistent verdicts prejudices Grady and undermines the integrity of the justice

system. This Court should grant Grady’s habeas petition and vacate his conviction.

                          ORAL ARGUMENT REQUEST

      Grady and undersigned counsel believe that oral argument would assist the

Court in reviewing the state court decision at issue. We respectfully request oral

argument pursuant to Circuit Court Rule 34(a).

                           STATEMENT OF THE CASE

I.    Underlying Events

      On January 30, 2009, Ralph Turner Jr. was shot and killed. A15, People v.

Grady, 2019 IL App (1st) 163012-U ¶ 4.1 The State charged Grady and a co-defendant,

Aaron Bronson, with the murder. Bronson pled guilty and testified against Grady.

“The State’s theory of the case was that defendant and Bronson planned to rob the




1 Federal courts presume that “the factual findings of the state court are correct for

the purposes of habeas review unless the petitioner rebuts the presumption of
correctness by clear and convincing evidence.” Gilbreath v. Winkleski, 21 F.4th 965,
968 (7th Cir. 2021) (citing 28 U.S.C. § 2254(e)(1)).


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victim, whom they had followed out of a casino, but, when the victim resisted,

defendant [Grady] shot him.” Id.

II.   Grady’s Trial Proceedings

      In the leadup to Grady’s trial, several relevant events occurred. One, Bronson

pled guilty to first-degree murder charges as an accomplice. A31–32. Two, the state

nolle prossed several charges against Grady, including his armed robbery charges.

A41–59. After dismissal, six counts remained: (1) intentional murder, (2) knowing

murder, (3) felony murder to wit: armed robbery, (4) intentional murder/personal

discharge (count 7 in the indictment), (5) knowing murder/personal discharge (count

8 in the indictment), and (6) felony murder/personal discharge (count 9 in the

indictment). See id.

      The state’s case during trial depended solely upon circumstantial evidence and

the biased testimony of Bronson. The state offered no forensics evidence linking

Grady to the shooting of Turner. The police found no blood on Grady’s clothes or

person, although they located blood on Turner’s chest and pants. A78, A146, A149–

51. They found no fingerprints on the gun that shot Turner. A154. Nor did the State

offer any evidence of gun residue tied to Grady. A152–53.

      During the trial, Bronson testified against Grady. He told the jury that he and

Grady were roommates. A17, Grady, 2019 IL App (1st) 163012-U ¶ 12. They were

together at the Horseshoe Casino in Hammond, Indiana, on the night of January 29,

2009. Id. According to Bronson, Grady approached him and “told him that he had lost

all his money but some guys were playing roulette and they had about $30,000 in

winnings. [Grady] suggested to Bronson that they should rob the men. Bronson


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agreed.” Id. Bronson testified that, later that night (i.e., the early morning of January

30), they followed Turner and his group of friends back to Chicago. Once their car

stopped outside Turner’s home and two men (including Turner) exited, Bronson

pulled over and supposedly “told [Grady] not to exit his truck but [Grady] said he

needed the money and jumped out” of Bronson’s SUV. Id. ¶ 13. Bronson testified that

Grady approached Turner outside his home, and Turner “punched [Grady] in the face

knocking him to the ground. As Bronson started to drive in reverse, he heard two to

three gunshots.” Id.

      Grady testified in his own defense. He testified that, on the night of January

29, 2009, he spent most of the night walking around the casino and watching other

gamblers play, including stopping at Turner’s table to see what the excitement was.

Id. ¶ 16. He never spoke to Bronson about robbing anyone. Id. ¶ 17. When it was time

to leave, Bronson went to the parking garage to pick up his truck while Grady waited

in the valet area of the casino. Id. ¶ 16. When Bronson pulled up, Grady got in the

SUV, plugged in his cell phone, and fell asleep. Then:

      [Grady] was awoken when the truck came to a sudden stop. [He] did not
      recognize where he was. He looked out of the window and saw two men
      on the sidewalk. The men started walking in opposite directions.
      Bronson jumped out of the truck and approached one of the men. The
      man punched Bronson and he fell to the ground. [Grady] got out of the
      passenger seat in order to break up the fight. He then heard two
      gunshots. [Grady] jumped into the driver’s seat of the truck and drove
      in reverse down the block.

      [Grady] parked the truck about two blocks away and realized he did not
      have his cell phone. He decided to walk to a nearby gas station to make
      a phone call. On his way to the station, he was stopped by the police and
      they ultimately let him go. [He] eventually went home and went to sleep.
      Bronson came home and the pair discussed what happened after [Grady]
      left the scene. [Grady] was arrested later that afternoon. He testified


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       that the gun recovered from his apartment belonged to Bronson . . . .
       [He] denied talking to Bronson about robbing anyone.

Id. ¶¶ 16–17.

       During closing arguments, the prosecutor reiterated the state’s sole theory of

guilt: Grady shot Turner. See, e.g., A182 (“All of this is circumstantial evidence

pointing the finger at the defendant . . . as the person who shot and killed Ralph

Turner.”); A183 (“Aaron Bronson was the driver, aids, abets, agrees to aid . . . This

defendant [is] the one who pulls the trigger. That’s what the evidence shows.”); A185

(“Aaron [Bronson] told you I’m an accessory. He explained that to you. He knew what

his responsibility was. He knew what role he played.”); A186 (“Aaron [Bronson] is not

the shooter in this case. He is not . . . . The defendant is the one, the defendant.”);

A187 (“[Bronson] was an accessory.”).

       On May 24, 2013, the jury entered its verdict. On the general verdict form, the

jury found Grady guilty of first-degree murder. A189. On the special verdict form, the

jury found Grady not guilty of personally discharging the firearm that proximately

caused Turner’s death. A188.

       The trial court sentenced Grady to 60 years in prison, a de facto life sentence

and the maximum range for first-degree murder. A15, Grady, 2019 IL App (1st)

163012-U ¶ 3; see also 730 ILCS 5/5-4.5-20. Bronson received a 24-year sentence as

part of his plea deal. See A17, id. ¶ 14.

III.   Direct Appeal

       After his sentencing, Grady pursued a direct appeal. He was appointed counsel

from the Office of the State Appellate Defender, and counsel filed an opening brief on



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October 8, 2014. A192–230. That brief raised only two claims: (1) an excessive

sentence claim and (2) a mittimus correction claim. Id. Counsel failed to raise any

claim of error related to verdict inconsistency, including any challenge to the

sufficiency of evidence to sustain a first-degree murder conviction based on the state’s

sole trial theory (Grady was the shooter) and the inconsistent special verdict that

followed (Grady was not the shooter).

      In light of appellate counsel’s failure to raise these significant claims, Grady

filed a pro se supplemental brief on November 4, 2014 (and again on February 19,

2015), raising these and other trial errors. See A234, 239–41 (noting the same). But

it was too late: The appellate court rejected those supplemental submissions. Id.

      On October 16, 2015, the Illinois Appellate Court held that the trial court did

not abuse its discretion in imposing a 60-year sentence. A308, People v. Grady, 2015

IL App (1st) 132160-U ¶¶ 18–20. The appellate court also ordered the correction of

the mittimus to reflect additional presentence custody credit. Id. ¶ 21. It never

addressed Grady’s pro se claims, including the inconsistent special verdict.

      Grady filed a petition for leave to appeal, which the Illinois Supreme Court

denied on January 20, 2016. A309, 48 N.E.3d 674.

IV.   Postconviction Proceedings

      On July 6, 2016, Grady filed a pro se postconviction petition raising a number

of claims. A231–305. Among others, Grady argued that his counsel on direct appeal

provided ineffective assistance in several ways. A234–35.

      For one, he argued, appellate counsel failed to raise a meritorious issue

surrounding the contested tendering of an inapplicable accountability instruction. Id.


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As he explained, the trial court abused its discretion in allowing the instruction

because “the State’s theory and evidence [was] that petitioner was the actual shooter

or nothing at all . . . the State presented no evidence to support the [accountability]

instruction and the facts of the case [were] limited.” A272–73. The improper

instruction, Grady argued, “created the risk of jury confusion” and “relieved the State

of its burden to prove petitioner guilty beyond a reasonable doubt as the shooter.”

A273.

        Relatedly, Grady explained, appellate counsel failed to raise a meritorious

claim about the insufficiency of evidence to sustain a conviction for first-degree

murder. A234–35, A239–40, A280–304. The circumstantial evidence failed to

establish beyond a reasonable doubt that Grady was the shooter, and the jury

discredited the sole direct evidence that suggested it—Bronson’s testimony. All of this

led the jury to render a special verdict finding that Grady was not the shooter.

Nonetheless, the jury rendered an irreconcilable verdict of guilty for first-degree

murder—when no theory and no evidence supported it. A300. Grady’s postconviction

petition concluded: “If there was valid reason why counsel decided not to raise the

other post-trial claims, insufficiency of evidence should have at least been raised,

where petitioner was acquitted of being the shooter but still convicted of intentional

murder.” A240.

        On September 28, 2016, the trial court dismissed Grady’s pro se postconviction

petition as “frivolous and patently without merit.” A330. In relevant part, the trial

court held that his claim on the erroneous accountability instruction “fail[ed]”




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because “contrary to [his] contention, the State did not have a ‘sudden change of

theory’ that misled the jury.” A326. According to the trial court’s postconviction

assessment:

      The State’s theory throughout the entire trial was that [Grady] was the
      shooter. The State did not deviate from this theory during closing
      arguments, nor did the State argue at any point that [Grady] was not
      the shooter. In fact, during closing arguments, the prosecutor clearly
      stated: “Aaron [Bronson] is not the shooter in this case. He is not. The
      only – he might be tall. He might be thin, but the only person there that
      night, the only person dressed in all dark clothes, the only person in
      black was the defendant. The defendant is the one, the defendant.”
      Transcript of Proceedings at OO-282 (May 23, 2013). Accordingly,
      because it is directly refuted by the record, [Grady’s] claim fails.

A326–27.

      Without any issue-by-issue reasoning, the trial court also rejected Grady’s

related claim that his counsel on direct appeal was ineffective: whether for failing to

challenge the improper accountability instruction, for failing to challenge the

sufficiency of evidence to sustain a conviction for first-degree murder, or for any other

reason Grady raised in his petition. A329–30. The trial court concluded that the

issues he raised were not meritorious; therefore, Grady suffered no prejudice and

counsel’s assistance was not ineffective. Id.

      Grady appealed the trial court’s denial of postconviction relief. He re-raised his

ineffective assistance claim under the performance-and-prejudice standard set out in

Strickland v. Washington, 466 U.S. 668 (1984), focusing on counsel’s refusal to bring

an obvious sufficiency challenge. A332–66. Among other facts bearing on the

sufficiency analysis, Grady noted, the jury “expressed doubt about the evidence,

asking multiple questions over the course of several hours of deliberation, at the



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conclusion of which it rendered a split verdict finding Grady guilty of murder but

finding that the allegation that Grady personally discharged a weapon had not been

proven.” A348. Grady thus requested that the appellate court “reverse the dismissal

of his pro se post-conviction petition and remand for second-stage post-conviction

proceedings.” A350.

      On May 10, 2019, the Illinois Appellate Court affirmed the trial court’s

dismissal of Grady’s pro se postconviction petition. A15–20, 2019 IL App (1st) 163012-

U. Instead of addressing both prongs under Strickland, the court analyzed only

whether Grady was “prejudiced by counsel’s failure to raise a sufficiency of the

evidence challenge on direct appeal.” See A15, 18–19, id. ¶¶ 1, 24, 31. After reciting

a hodgepodge of circumstantial evidence, as well as Bronson’s non-credible and biased

testimony, the appellate court found the evidence was “sufficient for the jury to

reasonably conclude that [Grady] was guilty of the first degree murder.” A19, id. ¶ 28.

It affirmed the trial court’s disposition without ever addressing the inconsistent

verdict issue, the theory under which the state tried Grady versus the theory under

which the jury apparently convicted him, and whether there was sufficient evidence

to sustain the latter. See generally id.

      On January 29, 2020, the Illinois Supreme Court summarily denied Grady’s

petition for leave to appeal the appellate court’s decision. A367, 140 N.E.3d 266.

V.    District Court Habeas Proceedings

      Grady filed his habeas petition on April 24, 2020. A368–80. That petition re-

raised a number of constitutional issues, including the failure by his counsel on direct

appeal to challenge the sufficiency of the evidence necessary to sustain his conviction.


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Among other things, Grady argued that the “unanimous finding of not guilty by the

jury on the special verdict form negates an essential element of the offense of first-

degree murder” and calls into question the sufficiency of evidence necessary to

sustain his conviction. A378–79. Grady also faulted his appellate counsel for failing

to challenge the improper tendering of jury instructions related to accomplice

liability. A379.

       On October 28, 2021, the district court denied Grady’s habeas petition but

issued a certificate of appealability on the inconsistent verdict issue “because

reasonable jurists could differ on the question of whether the state appellate court

reasonably addressed the inconsistent verdicts under Strickland.” A14, Grady v.

Gomez, 2021 WL 5006691, at *5. Grady filed a timely notice of appeal on November

19, 2021. R. 1.

       On July 25, 2022, the Court appointed the undersigned counsel to represent

Grady in this appeal. R. 16.

                               STANDARD OF REVIEW

       This court reviews “a district court’s denial of a petition for habeas corpus de

novo and findings of fact for clear error.” Westray v. Brookhart, 36 F.4th 737, 746 (7th

Cir. 2022) (citation omitted). The Antiterrorism and Effective Death Penalty Act

governs habeas petitions. Under the AEDPA, federal courts typically apply a

deferential standard of review to a state court’s adjudication of a claim on the merits.

But when a state court does not reach the merits of a given claim, “the claim is

reviewed do novo.” Cone v. Bell, 556 U.S. 449, 472 (2009). That is the situation here.

On postconviction review, the Illinois Appellate Court never addressed Grady’s


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sufficiency claim stemming from inconsistent verdicts as part of its Strickland

analysis, despite this issue being presented for review. As a result, de novo review

applies. Cone, 556 U.S. at 472. At the very least, because the Illinois Appellate Court

never addressed the performance prong under Strickland, this Court should apply de

novo review in examining this element. See Rompilla v. Beard, 545 U.S. 374, 390

(2005) (“Because the state courts found the representation adequate, they never

reached the issue of prejudice . . . and so we examine this element of the Strickland

claim de novo.”).

      Further, even when AEDPA deference applies, such deference “does not by

definition preclude relief.” Miller–El v. Cockrell, 537 U.S. 322, 340 (2003). A federal

court may set aside a state court decision that “was contrary to, or involved an

unreasonable application of, clearly established Federal law, as determined by the

Supreme Court of the United States.” 28 U.S.C. § 2254(d)(1). A state court

unreasonably applies federal law when it “correctly identifies the governing legal rule

but applies it unreasonably to the facts of a particular prisoner’s case.” Laxton v.

Bartow, 421 F.3d 565, 570 (7th Cir. 2005) (quoting Williams v. Taylor, 529 U.S. 362,

407–08 (2000)).

                        SUMMARY OF THE ARGUMENT

      The district court’s certificate of appealability questions whether the Illinois

Appellate Court “reasonably addressed the inconsistent verdicts under Strickland.”

A14, Grady, 2021 WL 5006691, at *5. The Illinois Appellate Court in fact did not

address the inconsistent verdict issue at all, much less in any reasonable manner.




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       Had it done so, the Illinois Appellate Court would have seen that the jury’s

special verdict finding negates a finding of guilt under the state’s chosen theory as a

matter of law, meaning that the evidence was necessarily insufficient to sustain

Grady’s conviction. Further, even assuming that the jury convicted Grady on an

accomplice theory (it did not, as even the state concedes), the evidence was still

insufficient to sustain the conviction under that unpresented theory. The Illinois

Appellate Court erred in ignoring this and in finding that Grady’s counsel on direct

appeal was constitutionally effective. This Court should apply de novo review, reverse

that finding, and grant a writ of habeas corpus.

                                    ARGUMENT

       In Strickland, the Supreme Court established that a defendant has not only a

Sixth Amendment right to counsel, but also a right to that counsel’s effective

assistance. 466 U.S. 668, 684–98 (1984). Counsel’s assistance is constitutionally

ineffective if their performance is deficient and that deficiency prejudices the

defendant. Id. at 687. To establish deficiency, a defendant “must show that counsel’s

representation fell below an objective standard of reasonableness” measured by

“prevailing professional norms.” Id. at 688. To establish prejudice, the defendant

must show that “there is a reasonable probability that, but for counsel’s

unprofessional errors, the result of the proceeding would have been different.” Id. at

694.

       This general framework also governs ineffective-assistance claims directed to

appellate (as opposed to trial) counsel—albeit with a “special gloss.” Makiel v. Butler,

782 F.3d 882, 897 (7th Cir. 2015). Appellate counsel does not have to raise every non-


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frivolous argument for their client. Shaw v. Wilson, 721 F.3d 908, 914 (7th Cir. 2013).

But “they are expected to ‘select[] the most promising issues for review.’ ” Id. at 915

(quoting Jones v. Barnes, 463 U.S. 745, 752–53 (1983)). To that end, appellate counsel

performs deficiently under Strickland if they fail to raise a claim that is both

“obvious” and “clearly stronger” than the claims actually raised. Id. And that

deficiency prejudices a defendant “if counsel bypassed a nonfrivolous argument” that

“had a reasonable chance of success on appeal.” Id. at 918–19. This is not a

particularly high hurdle: A defendant need only show that the issue “had a better

than fighting chance at the time.” Jones v. Zatecky, 917 F.3d 578, 583 (7th Cir. 2019)

(quoting Shaw, 721 F.3d at 916); Ramirez v. Tegels, 963 F.3d 604, 617 (7th Cir. 2020).

In this case, Grady has established both prongs, and the Court should grant his

habeas petition. We address the deficiency prong first, followed by the performance

prong.

I.       Appellate counsel was constitutionally deficient for failing to raise a
         meritorious sufficiency claim stemming from inconsistent verdicts.

         On direct appeal, appellate counsel pursued an excessive sentence challenge

and a mittimus correction challenge, ignoring the core issue: Whether the evidence

was sufficient to convict Grady for first-degree murder beyond a reasonable doubt,

given the jury’s finding that Grady was not the shooter, the state’s sole theory and

evidence that he was the shooter, and Bronson’s discredited testimony. As Petitioner

Grady sets forth further below, because that sufficiency challenge was “obvious” and

“clearly stronger” than the excessive sentence and/or mittimus correction claims

actually pursued, Shaw, 721 F.3d at 915, counsel’s performance was deficient.



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      a.     The jury’s special verdict finding negates the essential element
             of identity under the state’s sole theory, meaning that the
             evidence was insufficient to sustain a conviction for first-
             degree murder.

      The jury’s special verdict finding negates the essential element of identity

under the state’s sole theory of first-degree murder, which means the state’s evidence

is insufficient to sustain a conviction as a matter of law. “The Constitution gives a

criminal defendant the right to have a jury determine, beyond a reasonable doubt,

his guilt of every element of the crime with which he is charged.” United States v.

Gaudin, 515 U.S. 506, 522–23 (1995). “[O]nce a special interrogatory is asked, the

jury’s answers have legal force.” United States v. Gonzales, 841 F.3d 339, 353 (5th

Cir. 2016). When “a jury’s special verdict finding negates an essential element of the

offense, the defendant must be acquitted[.]” United States v. Randolph, 794 F.3d 602,

612 (6th Cir. 2015). This is true whether the jury’s special verdict finding negates an

essential element of the charged crime or more broadly negates guilt under the state’s

chosen theory. See Gonzales, 841 F.3d at 349 (analyzing the latter and noting that a

“special interrogatory must be given effect and can negate a general verdict of

guilty”). Courts have not hesitated to set aside convictions or otherwise grant

appropriate relief under such circumstances. See Randolph, 794 F.3d at 612 (vacating

conviction when there was an inconsistency “in the same count as to the same

defendant”); United States v. Shippley, 690 F.3d 1192, 1193–96 (10th Cir. 2012)

(grappling with inconsistent special verdict finding, when “[i]n effect the jury both

convicted and acquitted [the defendant] of the charged [crime]”); United States v.




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Pierce, 940 F.3d 817, 824 (2d Cir. 2019) (setting aside guilty verdict that was

inconsistent with special interrogatory answers).

      This precise situation exists here. The state’s murder theory was simple: Grady

pulled the trigger. But the jury entered a special verdict unanimously finding, in no

uncertain terms, that Grady did not. Nonetheless, it found him guilty of murder. In

other words, the jury “return[ed] a guilty verdict but indicate[d] in its answers to

special interrogatories that [Grady] is innocent.” Shippley, 690 F.3d at 1196. That

result cannot stand. Under the circumstances of this case, the unanimous finding

that Grady did not pull the trigger “is only susceptible to one interpretation: the

government failed to prove [Grady] guilty of the charged [crime] beyond a reasonable

doubt.” Randolph, 794 F.3d at 612; see also Shippley, 690 F.3d at 1196 (special verdict

finding showed “that the government had failed to prove the facts necessary to

support such a [guilty] verdict”); United States v. Lucarelli, 476 F. Supp. 2d 163, 169

(D. Conn. 2007) (special verdict form “ended up having a life beyond [its original]

purpose inasmuch as it became the vehicle to reflect the jury’s finding that the

Government’s proof . . . fell short”). In this case, the jury’s finding that Grady was not

the shooter necessarily means that the state’s proof fell short. See United States v.

Powell, 469 U.S. 57, 67 (1984) (the Constitution affords “protection against jury

irrationality or error by the independent review of the sufficiency of the evidence

undertaken by the trial and appellate courts.”). Insufficient evidence exists to support

Grady’s conviction for first-degree murder under the state’s sole theory, which made

Grady’s identity as the shooter an essential element of the charged offense.




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         Illinois courts have applied these principles and reversed convictions under

similar facts. In People v. Peoples, for example, the state brought first-degree murder

charges against the defendant under 720 ILCS 5/9-1(a)(1) (intentional murder) and

720 ILCS 5/9-1(a)(2) (knowing murder)—the same statutory counts brought against

Grady. See 2015 IL App (1st) 121717 ¶ 101. The jury found the Peoples defendant

guilty of first-degree murder after the trial court “injected into the trial a theory of

guilt by accountability,” even though the state prosecuted him “only as a principal

shooter and did not, at any time, argue that defendant was guilty on an accountability

theory.” Id. ¶¶ 3, 55. The state also requested a “special jury verdict form for the

firearm enhancement, which required that the State prove that defendant, ‘during

the commission of the offense, personally discharged a firearm that proximately

caused death’ ” to the victim. Id. ¶ 101 (citing 730 ILCS 5/5-8-1(d)(iii)). When the jury

answered the special verdict form in the negative, meaning that the state had not

proved personal discharge beyond a reasonable doubt, the Illinois Appellate Court

noted:

         We see no meaningful difference in the language constituting the offense
         of first-degree murder and the enhancement language. It is undisputed
         that the “act” that allegedly “cause[d] death” in this case was the
         discharge of a bullet that killed [the victim]. It is impossible to reconcile
         the jury’s finding that defendant “perform[ed] the acts which cause[d]
         death” to [the victim] with its finding that defendant did not “personally
         discharge[] a firearm that proximately caused the death” of [the victim].
         The jury found, in effect, both that defendant killed [the victim] with a
         bullet from his gun, and that defendant did not kill [the victim]. These
         two verdicts are diametrically opposed to one another.

Id. ¶ 102 (emphasis in original). As a result of this diametric inconsistency, the court

reversed the defendant’s conviction for first-degree murder and remanded for a new



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trial. Id. ¶ 123. Other Illinois courts have reached the same conclusion under similar

circumstances. See also, e.g., People v. Allen, 2022 IL App (1st) 190158 ¶ 60 (same

result, given the state’s exclusive pursuit of a theory of guilt as the alleged shooter

and the “inconsistency between the jury’s finding of guilt of first-degree murder and

the finding that [the defendant] did not fire the weapon that killed the victims”).

      Under the circumstances of this case and well-settled legal principles, the

jury’s finding that Grady was not the shooter should have ended the inquiry in favor

of Grady. The trial court should have given that special verdict finding effect.

Gonzales, 841 F.3d at 349 (courts cannot “ignore” special interrogatory answers and

“pretend that the jury based its finding of guilt” on some other, unpresented legal

theory). And appellate counsel was deficient for not recognizing this failure.

Rompilla, 545 U.S. at 380 (measuring performance against an “objective standard of

reasonableness” “under prevailing professional norms” (citations omitted)). The

clearly inconsistent verdict renders Grady’s conviction improper as a matter of law,

and the Court should grant Grady’s habeas petition.

      b.     The state is estopped from arguing that the jury convicted
             Grady on an accomplice theory, and even if the jury did so, the
             evidence was insufficient to sustain that conviction.

      Nevertheless, the state may argue that Grady’s conviction should be upheld

because the jury could have convicted Grady under an accomplice theory. The district

court suggested as much in its opinion, noting that Illinois law “allows the state to

prosecute, convict and sentence those involved in some way with a crime as legally

accountable for the entire crime.” A10, Grady, 2021 WL 5006691, at *4. The Court

should reject any such argument for at least two reasons.


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      First, the state did not present an evidentiary case on accomplice liability at

trial. See supra at p. 5. More than that, the state has refuted any notion that the jury

convicted Grady under an accomplice theory. A410 (“Throughout his brief, defendant

claims that he was convicted as an ‘accomplice,’ but that argument is a red herring.”).

The trial court rejected that position too, specifically concluding that “the State’s

theory throughout the entire trial was that [Grady] was the shooter. The State did

not deviate from this theory during closing arguments, nor did the State argue at any

point that [Grady] was not the shooter.” A326–27. Indeed, because accomplice

liability so assuredly did not serve as the basis for the jury’s conviction, the

postconviction trial court rejected Grady’s legal challenge to the accomplice

instructions as “directly refuted by the record[.]” Id.2 Although it correctly observed

that the state chose to present a single evidentiary theory to the jury, the trial court

failed to reconcile the inconsistent verdicts that followed under that chosen theory.

For the reasons discussed above, that was an error of constitutional magnitude, as

was counsel’s failure on direct appeal to raise the issue for resolution in Grady’s favor.

      If the state now wants to pivot from those prior positions, this Court should

reject any such attempt. The Illinois Supreme Court has squarely held under




2 Although the certificate of appealability does not cover claims related to jury
instruction errors, it is worth noting that the jury never should have received an
accomplice instruction, given the state’s choice to pursue an “all-or-nothing” theory
of guilt as a principal. See People v. Crowder, 239 Ill. App. 3d 1027, 1030 (3d Dist.
1993); see also Peoples, 2015 IL App (1st) 121717 ¶ 94 (“Accountability was not a
theory pursued at trial, and thus, as applied to the circumstances of this case, it was
incorrect for the trial court to instruct the jury that it could convict on a theory of
accountability.”).


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analogous circumstances that “the State cannot now change course in a subsequent

proceeding and assert the exact opposite of what it asserted at petitioner’s criminal

trial.” People v. Palmer, 2021 IL 125621 ¶ 77. The Palmer case, which involved

certificate-of-innocence proceedings, is instructive.

       In his underlying criminal trial, the Palmer petitioner was “charged with first

degree murder on the basis that he personally beat the victim to death and the State

[later] concede[d] that petitioner was not the principal attacker[.]” Id. ¶ 59. When the

state argued that a certificate of innocence was not available because the petitioner

was guilty as an accomplice, the Illinois Supreme Court shut this down. It observed

that the state’s accomplice theory was never “presented to the trier of fact in the

underlying criminal proceedings. To the contrary, the State argued at petitioner’s

jury trial that petitioner alone beat the victim to death[.]” Id. ¶ 66; see also id. ¶ 71.

The Palmer court thus concluded that “judicial estoppel forecloses the State’s changed

position.” Id. ¶ 77.

       The same holds true here. The state cannot save its conviction against Grady

by arguing that the jury found him guilty as an accomplice. That has never been the

state’s theory of guilt, and that has never been the state’s position. In this case, the

jury’s special verdict finding “directly contradict[ed] the State’s original theory of

petitioner’s guilt” and should have resulted in an acquittal. See id. ¶¶ 77–80

(concluding that petitioner was entitled to a certificate of innocence); see also Fagan

v. Washington, 942 F.2d 1155, 1160 (7th Cir. 1991) (“[T]he state must live with the




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consequences of having proceeded on a theory that it could not establish with the

certitude required in criminal cases.”).

      Second, even if the jury convicted Grady on an unpresented accomplice theory,

and even if the state is not estopped from taking an inconsistent position on the issue,

any evidence the jury may have relied on for doing so is insufficient to sustain the

conviction. Specifically, even assuming, arguendo, that the jury based its finding of

guilt on a theory that Bronson shot Turner and Grady was Bronson’s accomplice

(again, this is speculation as to what the jury thought), the evidence cannot sustain

that accomplice conviction. If this Court reaches this fallback analysis at all, it should

review the underlying evidentiary basis de novo, which requires an assessment of

whether “the evidence adduced at trial could support any rational determination of

guilt beyond a reasonable doubt.” Powell, 469 U.S. 57, at 67; Rompilla, 545 U.S. at

390. That review shows that counsel was deficient for failing to raise this sufficiency

issue on appeal, too.

      It is true that, under Illinois law, “a person charged as a principal can be

convicted upon evidence showing that he was in fact only an aider or abetter.”

Ashburn v. Korte, 761 F.3d 741, 758 (7th Cir. 2014); see also 720 ILCS 5/5-2(c). But to

do so, the state must prove beyond a reasonable doubt that the alleged accomplice

(here, Grady) “(1) solicited, ordered, abetted, or agreed or attempted to aid another in

the planning or commission of the offense; (2) participated before or during the

commission of the offense; and (3) had the concurrent, specific intent to promote or

facilitate the commission of the offense.” People v. Jaimes, 21 N.E.3d 501, 509 (Ill.




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App. Ct. 2014). “To prove intent, the State must present evidence that the defendant

shared the criminal intent of the principal or that there was a common criminal

design.” Id. In this case, the state failed to prove these elements beyond a reasonable

doubt.

         To start, no evidence supported a finding that Grady agreed to aid anyone in

any intentional or knowing murder (720 ILCS 5/9-1(a)(1)-(2)): Not even Bronson has

claimed that anyone harbored that type of intent or engaged in that type of conduct.

Eliminating those two charges leaves only felony murder, which requires proof that

Grady and another person intended to commit the predicate felony (here, armed

robbery, see A422), “and in the course of or in furtherance of such crime or flight

therefrom, he or she or another participant causes the death of a person.” 720 ILCS

5/9-1(a)(3). But this argument, too, fails. The state dismissed the armed robbery

charge against both Grady and Bronson shortly before trial. See A41–59. And to

sustain a conviction for felony murder under an aiding and abetting theory, it is not

enough to point to an alleged accomplice’s “involvement in the underlying crime of

robbery, for which he was not prosecuted.” People v. Garrett, 401 Ill. App. 3d 238, 249

(1st Dist. 2010). Rather, the state must point to evidence establishing beyond a

reasonable doubt that the defendant “shared a common design with whoever shot the

victim,” the identity of whom the state has not proved in this case. Id. at 248. Here,

as in Garrett, the way in which this murder case was prosecuted led to a “fatal lack

of proof of causation[,]” which necessarily means that the state’s proof “fell short of

what is required in an accountability case for felony murder[.]” Id. at 248–49.




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      Furthermore, even if the Court assumes that Bronson was the shooter (again,

an allegation that the state has not proved, and one that Bronson himself denies), the

evidence was still insufficient to sustain a felony murder conviction against Grady.

At trial, the only direct evidence of any agreement or intent by Grady to commit an

armed robbery was Bronson’s testimony. But such accomplice testimony “is often

fraught with serious problems.” People v. Page, 516 N.E.2d 1371, 1379 (Ill. App. Ct.

1987). Because an accomplice “may have been promised leniency or harbor ill will

towards the accused”—both true of Bronson—his testimony “only should be accepted

with the utmost caution and subjected to the highest scrutiny.” Id.; see also People v.

Wheeler, 929 N.E.2d 99, 108 (Ill. App. Ct. 2010). And in this case, Bronson’s testimony

was particularly troubling.

      To start, the centerpiece of Bronson’s story was that Grady shot Turner. The

jury rejected that narrative, expressly finding that Grady was not the shooter. By the

jury’s own finding, Bronson’s testimony was not credible. This makes sense because

of all the other biases, gaps, and inconsistencies in Bronson’s testimony. For example:

      •    Bronson admitted to lying to police about key facts about the night
           of the robbery during his initial interviews. For example, Bronson
           had originally testified that Grady drove at one point while following
           Turner, but changed his story after pleading guilty. A165–67.

      •    Bronson fled and was on the run from police for two years. A172.

      •    Bronson claimed that Grady was punched during the robbery, A160,
           but Grady had no signs of such a scuffle when the police stopped him
           moments later. A77.

      •    Bronson owned the revolver that was later determined to have shot
           Turner. A163–64.




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      •    Bronson lived in the same apartment as Grady and stored items in
           the very room where the gun was found. A159, 179–80.

      The jury also heard that, in one moment of truth, Bronson wrote a letter

stating that Grady had “snitched” about Bronson’s conduct in robbing Turner, leading

Bronson to state, “what goes around comes around.” A168–69. Bronson then pleaded

for the recipient not to “jeopardize [his] agreement with the State by showing them

this letter if it is incriminating enough.” A170–71.

      All this calls Bronson’s testimony into question, and points to his guilt as the

shooter and mastermind of the robbery. At the very least, Bronson’s testimony was

so flawed that no reasonable juror could accept it beyond a reasonable doubt. People

v. Majka, 849 N.E.2d 428, 435–36 (Ill. App. Ct. 2006) (“A reviewing court may reject

testimony as unbelievable, ‘but only where the record evidence compels the conclusion

that no reasonable person could accept it beyond a reasonable doubt.’ ” (citation

omitted)); see also United States v. Contreras, 820 F.3d 255, 263 (7th Cir. 2016) (while

credibility determinations are typically for the factfinder, a reviewing court need not

accept them where the testimony is “so unbelievable that no reasonable factfinder

could credit them”). As a result, Bronson’s testimony was insufficient to establish

Grady’s guilt as an accomplice beyond a reasonable doubt. As Grady himself testified,

he never planned or agreed with Bronson (or anyone else) to rob Turner, much less

to commit armed robbery. See A17, Grady, 2019 IL App (1st) 163012-U ¶¶ 16–17

(discussing Grady’s testimony).

      The only other evidence arguably showing an improper agreement between

Bronson and Grady was minor circumstantial evidence, none of which was sufficient



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in the totality to sustain a conviction for aiding and abetting beyond a reasonable

doubt. For example, Grady’s phone was found on the same street as Turner’s body—

not next to the victim, but rather some distance away. A149. But this is not suggestive

of anything improper: Grady readily admits to having been at the scene, precisely

because Bronson had followed Turner home while Grady was sleeping. A176–77.

Grady’s mere presence at the scene is not sufficient to find him accountable as an

accomplice to armed robbery and felony murder. See, e.g., People v. Walker, 911

N.E.2d 439, 451 (Ill. App. Ct. 2009) (“The mere presence of a defendant at the scene

of the crime is also insufficient to make a defendant accountable, even if it is coupled

with defendant’s flight from the scene or defendant’s knowledge that a crime was

being committed.”). The state also elicited testimony from witnesses that Grady was

near their casino table, see, e.g., A62, and showed video clips to that effect, A80–145,

attempting to depict some nefarious intent on Grady’s part. But the state’s own

witnesses admitted that Grady had visited other tables, A145, and that it was

common for casino patrons to stop by tables where people are winning and shouting,

A63–64. Given that Grady was at the casino for hours, it is no surprise that he

appeared a few times near Turner’s roulette table. This evidence is certainly not

enough to establish a shared plan to rob Turner, and do so using a firearm, beyond a

reasonable doubt.

      The Court should weigh the paucity of the state’s trial evidence against the

overwhelming evidence establishing Turner’s innocence of any wrongdoing:

      •    The only two witnesses to the robbery, Anthony McGee and Pamela
           Snow Woodard, did not identify Grady. A67–69, 71, 155.



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      •    One of the 911 callers gave a description that the suspect was “light-
           skinned,” but the police never followed up with that caller. A184. A
           state witness also described to police that the person was “light to
           medium complexion.” A156. These descriptions fit Bronson, not
           Turner. See A440–42. In addition, although Grady was wearing dark
           clothing on the night in question, so too was Bronson. See 2019 IL
           App (1st) 163012-U ¶ 12.

      •    Shortly after the robbery, Grady was stopped by police but released.
           A74. Although Turner’s wallet and phone were missing, neither was
           found on Grady, A72, 75–76, nor did Grady have a gun, A73. He also
           bore no signs of having been punched in the snow by Turner, as
           described by Bronson, nor did he have blood on his clothes. A77–78.

      •    No forensic evidence linked Grady to the shooting of Turner. No blood
           was found on his clothes—even though blood was on Turner’s chest
           and on the piece of clothing ripped off his pants. A78, A146, A149–
           51. Grady’s fingerprints were not found on the revolver that shot
           Turner. A154. Nor did the State offer any evidence of gun residue
           tied to Grady. A152–53

      •    The police recovered the gun in a shared storage space, amongst
           possessions belonging to Bronson and Grady’s girlfriend—not
           Grady’s room, even though Bronson claimed Grady had put the gun
           in Grady’s room. A161, 175.

      •    Unlike Bronson, Grady went home. He did not flee. Although
           Bronson told Grady to run, he didn’t because he “didn’t do anything
           wrong.” A178.

      In sum, the state’s evidence of any agreement to rob Turner using a firearm

boiled down to Bronson’s testimony. But that biased and incredible testimony was so

deeply flawed that no reasonable juror could believe it. Reviewing courts have

granted habeas relief under similar circumstances. See, e.g., Baugh v. Nagy, 2022

U.S. App. LEXIS 27469, at *32 (6th Cir. Sept. 30, 2022) (“With the state’s only witness

lacking credibility and so much uncertainty about [defendant’s] role, if any, in the

murder of [the victim], no reasonable juror could find beyond a reasonable doubt that




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[the defendant] is guilty of first-degree felony murder.”). On the other hand, the

evidence of Grady’s innocence was overwhelming.

      The state presented insufficient evidence to convict Grady of felony murder

under an aiding and abetting theory, and counsel on direct appeal committed a

constitutional error by failing to recognize and raise this. See Shaw, 721 F.3d at 915

(appellate counsel performs deficiently under Strickland if they fail to raise a claim

that is both “obvious” and “clearly stronger” than the claims actually raised).

Accordingly, the evidence does not support a finding of guilt beyond a reasonable

doubt under any accomplice theory.

II.   Appellate counsel’s deficient performance prejudiced Grady because
      his guilty conviction may have been vacated had counsel raised
      these challenges.

      Under Strickland, a deficiency by appellate counsel prejudices a defendant “if

counsel bypassed a nonfrivolous argument” that “had a reasonable chance of success

on appeal.” Shaw, 721 F.3d at 918–19. Prejudice plainly exists here: Reviewing courts

routinely set aside convictions that are inconsistent with special verdict findings or

otherwise grant appropriate relief when the evidence is insufficient to sustain the

conviction. But for counsel’s deficient performance, the reviewing court should have

granted such appropriate relief here. Rompilla, 545 U.S. at 390 (prejudice is satisfied

when there is a “reasonable probability that, but for counsel’s unprofessional errors,

the result of the proceeding would have been different”). The Illinois Appellate Court

unreasonably applied Strickland in concluding that Grady’s counsel was

constitutionally effective despite failing to raise this obvious sufficiency claim on

appeal. Laxton, 421 F.3d at 570; see also 28 U.S.C. § 2254(d)(1) (habeas relief is


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warranted when the state court’s adjudication “involved an unreasonable

application” of established federal law). And the district court erred in not finding as

such. This Court should grant Grady’s habeas petition.

                                   CONCLUSION

      For these reasons, this Court should grant Grady’s habeas petition and vacate

his conviction.

                                        Respectfully submitted:


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Dated: November 23, 2022




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                         CERTIFICATE OF COMPLIANCE

      I certify that this brief complies with the typeface requirements of Circuit

Rule 32(b) and the type-volume limitations of Circuit Rule 32(c). The text and

footnotes are printed in proportionally spaced 12-point Century Schoolbook type.

According to the word-count function of Microsoft Word 2016, the brief contains 7,694

words.


                                              /s/ Kelly Mannion Ellis


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                            CERTIFICATE OF SERVICE

       I certify that on November 23, 2022, I electronically filed the foregoing brief

with the Clerk of the Court for the United States Court of Appeals for the Seventh

Circuit by using the CM/ECF system. I certify that all participants in the case are

registered CM/ECF users and that the following counsel of record will be served

electronically (see Cir. R. 25(d)):

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       I further certify that, in compliance with this Court’s forthcoming order, I will

transmit to the Clerk 15 copies of the brief and 10 copies of the appendix. See Cir.

R. 31(b).


                                                /s/ Kelly Mannion Ellis


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                       CIRCUIT RULE 30(D) STATEMENT

      Pursuant to Circuit Rule 30(d), I certify that all materials required by Circuit

Rule 30(a) and (b) are included in the appendix.


                                        /s/ Kelly Mannion Ellis


Dated: November 23, 2022




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                                 IN THE UNITED STATES DISTRICT COURT
                                                  FOR THE
                                    NORTHERN DISTRICT OF ILLINOIS

    Arthur Grady,

    Petitioner,
                                                                  Case No. 20-cv-02530
    v.                                                            Judge Mary M. Rowland

    David Gomez, Warden, Stateville
    Correctional Center,

    Respondent.

                                            JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                    in favor of plaintiff(s)
                    and against defendant(s)
                    in the amount of $       ,

                           which      includes       pre–judgment interest.
                                      does not include pre–judgment interest.

            Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

            Plaintiff(s) shall recover costs from defendant(s).


                    in favor of defendant(s)
                    and against plaintiff(s)
.
            Defendant(s) shall recover costs from plaintiff(s).


               other: in favor of Respondent, David Gomez, and against Petitioner, Arthur Grady. Petitioner's
habeas petition [1] is denied.

This action was (check one):

         tried by a jury with Judge Mary M. Rowland presiding, and the jury has rendered a verdict.
         tried by Judge Mary M. Rowland without a jury and the above decision was reached.
         decided by Judge Mary M. Rowland.



Date: 10/28/2021                                          Thomas G. Bruton, Clerk of Court

                                                  Dawn A. Moreno, Deputy Clerk
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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

 ARTHUR GRADY,

 Petitioner,
                                                  Case No. 20-cv-02530
 v.
                                                  Judge Mary M. Rowland
 DAVID GOMEZ, Warden, Stateville
 Correctional Center

 Defendant.


                      MEMORANDUM OPINION AND ORDER

      Arthur Grady, an Illinois prisoner, petitions for a writ of habeas corpus under 28

U.S.C. § 2254 [1]. The Petition is denied along with Petitioner’s request for an

evidentiary hearing. A certificate of appealability is warranted.

      I.    Background

      A federal habeas court presumes that state court factual findings are correct

unless rebutted by clear and convincing evidence. See 28 U.S.C. § 2254(e)(1); Jean-

Paul v. Douma, 809 F.3d 354, 360 (7th Cir. 2015) (“A state court’s factual finding is

unreasonable only if it ignores the clear and convincing weight of the evidence.”)

(internal quotation marks omitted). The Appellate Court of Illinois is the last state

court to have adjudicated Grady’s case on the merits. People v. Grady, 2019 IL App

(1st) 163012-U (Ill. App. May 10, 2019) (unpublished order) (reproduced at Dkt. 18-

3); See also People v. Grady, 2015 IL App (1st) 132160-U (Ill. App. Oct. 16, 2015)

(reproduced at Dkt. 18-1). The following sets forth the facts as that court described




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them and the procedural background of the state criminal and post-conviction

proceedings.

      A.       Factual Background

      This case involves the shooting death of Ralph Turner, Jr. on January 30, 2009.

Grady, 2015 IL App (1st) at ¶ 3. Petitioner Arthur Grady and his co-defendant Aaron

Bronson were charged with first-degree murder. Id. Aaron Bronson pled guilty and

testified against Grady. At trial, the State presented evidence that Grady and

Bronson planned to rob Turner after seeing him win money at a casino in Indiana.

According to the charges, when Turner resisted during the robbery, Grady shot him.

Id. at ¶ 4. The State introduced evidence that Turner and his friends were at

Horseshoe Casino in Indiana. Once Turner and his friends returned to Chicago, and

while one of Turner’s friends was dropping Turner off at his house, the SUV Grady

was traveling in stopped and a “man in a dark hoodie” got out of the passenger seat.

One of Turner’s friends and a woman who lived down the block testified they heard

gun shots, and saw the SUV driving down the street in reverse just before 4 a.m. Id.

      Aaron Bronson, Grady’s co-defendant, testified against Grady at trial in

exchange for a guilty plea to first degree murder and twenty-four years in prison. Id.

at ¶ 7. He testified that while at the casino with Grady, Grady told him that he lost

money and he saw a group of men who had “about $30,000” and he thought they

should rob them. Id. Bronson agreed. Id. Later Grady told Bronson to get his truck

because the group was leaving. Bronson got his truck and waited for Grady to tell

him that it was time. When Bronson went to pick Grady up, he saw the group of men




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enter a black Mercedes. Id. at ¶ 8. He and Grady followed the Mercedes. until they

saw it come to a stop. Id. At that point, Grady jumped out of the truck with a gun and

ran up to Turner as he was going to his front door. Bronson testified that he then saw

Grady hovering over a man lying on the ground. Id. Bronson fled to Grady’s

apartment and waited. When Grady returned, he told Bronson that he did not get

any money and he tossed the gun. Bronson also testified that Grady went back out to

find the gun and eventually returned with it. Id.

      Using Grady’s cell phone recovered at the scene, video footage from the casino

and a photo array lineup, Chicago Police obtained a search warrant for Grady’s

apartment. During the execution of the warrant, police found two guns, one of which

was later determined by an expert to be the murder weapon. Id. at ¶ 6.

      Grady testified at trial that he and Bronson were not together at the casino.

Id. at ¶ 9. He denied talking to Bronson about robbing the group. Id. Instead, when

he and Bronson left the casino, Grady fell asleep and did not wake up until the truck

came to a sudden stop. Id. at ¶ 10. At that time, Grady saw Bronson get out of the

truck, walk up to a man on the sidewalk and engage in conversation. Id. Grady

testified that he got out of the car when the man punched Bronson, intending to stop

the fight, but returned to the truck when he heard two gunshots. Id. After leaving the

scene, Grady realized he could not find his phone. Id. at ¶ 11. According to Grady, the

gun found in his apartment belonged to Bronson. Id.

      The jury “found defendant guilty of first-degree murder, but also found that

the state had not proven the allegation that defendant personally discharged a




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firearm that proximately caused death to another person.” Id. at ¶13. At sentencing,

the State presented evidence of Grady’s criminal history. Grady’s grandfather

testified in mitigation and discussed defendant’s progress and work history. Grady

apologized to the victim’s family but maintained his innocence regarding Bronson’s

crime. Id. at ¶14. The sentencing court discussed the testimony presented at

sentencing and found that the defendant had “very little, if any, rehabilitative

potential” and sentenced him to sixty years in prison. Id. at ¶15. The trial court later

denied Grady’s motion to reconsider his sentence.

        B.     Direct Appeal

        On direct appeal, defendant argued his sentence was excessive and the trial

court abused its discretion in imposing “what is essentially a life sentence where the

jury found that he was not the shooter, but rather, was only accountable for his co-

defendant’s actions.” Id. at ¶ 17. The Illinois Appellate Court affirmed the sentence,

only making a small correction to reflect days already served. Id. at ¶¶ 20-21. The

Illinois Supreme Court denied his petition for leave to appeal (PLA). See Dkt. 17, Exh.

B.

        C.     Post-Conviction

     In July 2016, Grady filed a pro se post-conviction petition with sixteen claims, two

of which are before this Court. The appellate court dismissed the petition and Grady

appealed. Notably, Grady argued on appeal that appellate counsel was only

ineffective for failing to challenge the sufficiency of the evidence. See 17-J, Post-

conviction Appellant’s Brief. The Illinois Appellate Court found that the evidence




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against petitioner was “overwhelming” and there was no probability an appellate

court would have overturned Grady’s conviction. See Dkt. 17-C, at ¶ 31. Grady

appealed to the Supreme Court on both the above claim and a prosecutorial-

misconduct claim. The Illinois Supreme Court denied the PLA. See Dkt. 17-D.

   II. Discussion

       A.      Request for Evidentiary Hearing

       Grady requests an evidentiary hearing (Dkt. 23, at 37), but provides no

arguments in his petition or his reply as to why an evidentiary hearing is necessary

or appropriate. 1 The Antiterrorism and Effective Death Penalty Act of 1996 (AEDPA)

governs the availability of an evidentiary hearing on federal habeas review, and

generally bars them except in narrow exceptions. See 28 U.S.C. §§ 2254(e)(2)(A), (B);

see also. Ward v. Jenkins, 613 F.3d 692, 698 (7th Cir. 2010). When the facts are in

dispute a court must hold a hearing if the applicant did not receive a full and fair

evidentiary hearing in state court. However, an evidentiary hearing is barred when

not requested at every stage in state court unless Grady shows his claim relies on a

“new constitutional law … that was previously unavailable” or “a factual predicate

that could not have been discovered through the exercise of due diligence” when there

is “clear and convincing evidence that but for constitutional error, no reasonable

factfinder would have found the applicant guilty of the underlying offense.” See 28

U.S.C. §§ 2254(e)(2); see also Williams v. Taylor, 529 U.S. 420, 120 S. Ct. 1479 (2000).

Grady did not request an evidentiary hearing at every stage in state court and


1 Grady filed a document entitled a Traverse Introduction on March 31, 2021. [23] The Court accepts

this as Grady’s reply brief that was due on January 8, 2021. [20].



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therefore is barred from requesting one here given that he has not alleged a claim

that relies on new constitutional law nor facts that could not have been discovered in

earlier proceedings. Grady’s request for an evidentiary hearing is denied.

      B.     Excessive Sentence by Trial Court

      Grady claims the trial court abused its discretion when it sentenced him to

sixty years in prison despite the jury returning a special verdict that they were unable

to find he was holding the weapon that killed Turner but finding him guilty of first-

degree murder. Grady cites no case law to support his contention that the jury’s

verdict was insufficient to support a sixty-year sentence. Dkt. 1 at 7. The sentence

falls within the guideline range in Illinois for first degree-murder. 730 ILCS 5/5-8-1.

The Seventh Circuit has held that “in non-capital felony convictions, a particular

offense that falls within legislatively prescribed limits will not be considered

disproportionate unless the sentencing judge has abused his discretion.” Henry v.

Page, 223 F.3d 477, 482 (7th Cir.2000) (quoting United States v. Vasquez, 966 F.2d

254, 261 (7th Cir.1992)). As the Illinois Appellate Court found, there is no evidence

that Grady’s sentence was based on any abuse of discretion.

      The distinction between the general verdict form and special verdict form do

not provide a basis to find the trial court judge abused his discretion. The record from

the state court indicates that the “trial court was well aware of the facts in the case,

including the jury’s finding that the State had not proved defendant personally

discharged the firearm.” Grady, 2015 IL App. (1st) 132160-U, at *4. Illinois law

specifically allows the state to prosecute those associated with a crime, even if they




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themselves did not actually commit the crime meaning, the trial court judge was

within his bounds to sentence Grady within the legislatively authorized range for

first degree murder. See 720 ILCS 5/5-2-3. Grady is not entitled to a writ of habeas

corpus based on his excessive sentence claim. See United States ex rel Hernandez v.

Pierce, 429 F. Supp. 918, 928 (N.D. Ill. Apr. 20, 2006) (holding that a state prisoner’s

excessive sentence claim is not entitled to a writ of habeas corpus if it falls within

state law guidelines); see also Page, 223 F.3d at 482 (holding a sentence authorized

by Illinois law was not based on an abuse of discretion).

      C.     Ineffective Assistance of Appellate Counsel for Failing to
             Challenge the Sufficiency of Evidence

      Grady argues that appellate counsel was ineffective for failing to raise

insufficiency of evidence on direct appeal. Dkt. 1 at 9. Grady contends that because

the jury did not find the essential element that Grady shot Turner, he could not be

convicted of murder and therefore, his appellate counsel’s failure to raise this claim

directly changed the likely outcome of his direct appeal. Id. In his reply, Grady raises

two instances where appellate counsel failed to challenge the sufficiency of the

evidence:

      “(1) where the jury found the evidence insufficient to convict Petitioner of
      personally discharging the firearm that proximately caused Turners [sic] death
      but found him guilty of first degree intentional murder of Ralph Turner that
      had to have occurred with the same firearm the jury acquitted him of
      personally discharging (citations omitted); (2) where the inherently suspicious
      accomplice testimony of [the] states [sic] key witness Aaron Bronson was
      uncorroborated, incredible and unreliable to sustain conviction upon proof
      beyond a reasonable doubt. (citations omitted).




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Dkt. 23, at 5-6. To receive habeas relief on an ineffective assistance of counsel claim,

Grady must meet the familiar performance-and-prejudice standard set forth in

Strickland v. Washington, 466 U.S. 668, 104 S. Ct. 2052, 80 L. Ed. 2d 647 (1984).

Under Strickland, Grady must show that (1) his attorney’s performance fell below an

objective standard of reasonableness and (2) he was prejudiced by that deficient

performance. Id. at 687-88. To satisfy the second element, Grady must demonstrate

that “there is a reasonable probability that, but for counsel’s unprofessional errors,

the result of the proceeding would have been different.” Id. at 694. Overall, judicial

review of counsel’s performance “must be highly deferential” and “every effort [must]

be made to eliminate the distorting effects of hindsight.” Id. at 689; see also United

States v. Lathrop, 634 F.3d 931, 937 (7th Cir. 2011).

      On habeas review, the inquiry is doubly deferential: not only must the Court

presume that “the challenged action might be considered sound trial strategy,”

Strickland, 466 U.S. at 689 (internal quotation marks omitted), but under AEDPA

this Court must also defer to the state court’s application of Strickland unless it is

objectively unreasonable. See Knowles v. Mirzayance, 556 U.S. 111, 123, 129 S. Ct.

1411, 173 L. Ed. 2d 251 (2009). To be clear, the Court is not deciding whether the

state court’s determination was correct under Strickland, but rather whether it

“produced an answer within the range of defensible positions.” Taylor v. Bradley, 448

F.3d 942, 948 (7th Cir. 2006) (internal quotation marks omitted). “[B]ecause the

Strickland standard is a general standard, a state court has even more latitude to




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reasonably determine that a defendant has not satisfied that standard.” Knowles, 556

U.S. at 123. We address each of Grady’s complaints of ineffective assistance in turn.

   1. Inconsistent Verdicts

   Grady alleges his appellate counsel failed to raise a sufficiency of the evidence

claim regarding the inconsistent verdicts returned by the jury, and had his counsel

done so, his verdict would have been overturned. He asserts that had counsel raised

sufficiency of the evidence, the appellate court would have found that “irrational jury

verdicts establish [the] state[] failed to prove [the] identity of the shooter beyond a

reasonable doubt” and thereby overturn his conviction. Grady further asserts that

the Illinois Appellate Court neglected to hear his ineffective assistance of counsel

claim regarding inconsistent verdicts, and therefore, this Court should review his

claim de novo.

   Under Strickland, Grady must show that but for counsel’s failure to raise this

claim on direct appeal, the result would have been different. Grady has not met that

burden. As discussed in terms of Grady’s excessive sentence claim, Illinois law

explicitly allows the state to prosecute, convict and sentence those involved in some

way with a crime as legally accountable for the entire crime. See 720 ILCS 5/5-2-3.

Illinois law holds that “a person charged as a principal can be convicted upon evidence

showing he was in fact only an aider or abetter.” Ashburn v. Korte, 761 F.3d, 741, 758

(7th Cir. 2014). In fact, even when a defendant is “completely unaware” of his co-

defendant’s intentions, he will still be held legally accountable for the crimes

committed by those in the group. Id. at 758-59.




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   Even if appellate counsel would have raised a sufficiency of the evidence claim on

direct appeal, it would not have been a meritorious claim for Grady. It was objectively

reasonable for appellate counsel to conclude the same. Therefore, Grady’s ineffective

assistance of counsel claim fails in this regard.

   2. Aaron Bronson’s testimony

   The Illinois Appellate Court held that appellate counsel’s performance was not

deficient because appellate counsel declined to raise an argument that Aaron

Bronson’s testimony was inherently unreliable. Grady, 2019 IL App. (1st) 163012-U,

at *1. In making this determination, the appellate court first addressed whether

Grady’s claim would have been successful if raised on direct appeal. Id. at 5. The court

noted that there were several other witnesses that testified at Grady’s trial, video

footage from the casino featuring Grady, and Grady’s cell phone found near Turner’s

body, all creating overwhelming evidence that had “appellate counsel [ ] challenged

the sufficiency of the evidence to sustain defendant’s conviction on direct appeal,

there would not have been reasonable probability that this court would have

overturned [the] conviction.” Id. at 6. The Illinois Appellate Court also found that

Grady’s argument that Bronson’s testimony was “significantly impeached”, was

“unavailing” because it “corroborated the sequence of events as related by the other

witnesses.” Id. 5. Because the appellate court found on post-conviction review that

there was no reasonable probability that it would have overturned the conviction if

an attack on Bronson’s reliability was raised by appellate counsel, the Illinois




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Appellate Court found that Grady “suffered no arguable prejudice from counsel’s

failure to challenge his conviction on direct appeal.” Id.

       This determination was neither contrary to nor an unreasonable application of

Supreme Court precedent. The appellate court expressly cited Strickland and applied

that standard in a thorough and reasonable manner. It was not objectively

unreasonable for the appellate court to conclude that Grady’s appellate counsel’s

performance was reasonable, or that Grady was not prejudiced by counsel’s

performance given that the argument would have failed on direct appeal. Given the

deferential standard of review under AEDPA, the Court finds the state appellate

court’s decision reasonable. Accordingly, Grady’s ineffective assistance of counsel

claim fails.

       D.      Ineffective Assistance of Appellate Counsel for Failing to Raise
               a Prosecutorial Misconduct Claim

   Grady’s claim that appellate counsel was ineffective for failing to raise a

prosecutorial misconduct claim is procedurally defaulted. Pursuant to 28 U.S. § 2254

(b)(1), “an application for a writ of habeas corpus on behalf of a person in custody . . .

shall not be granted unless it appears that the applicant has exhausted the remedies

available in the courts of the State.” Before petitioning the federal court, “state

prisoners must give the state courts one full opportunity to resolve any constitutional

issues by invoking one complete round of the State's established appellate review

process.” Weaver v. Nicholson, 892 F.3d 878, 886 (7th Cir. 2018) (quoting O'Sullivan

v. Boerckel, 526 U.S. 838, 845 (1999)). A habeas claim that was not exhausted in state

court will only be granted if it demonstrates a “fundamental miscarriage of




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justice.” Id. at 843. This is an exceedingly high standard. “It applies only in the rare

case where the petitioner can prove that he is actually innocent of the crime of which

he has been convicted.” McDowell v. Lemke, 737 F. 3rd 476, 483 (7th Cir. 2013).

   Grady asserted that appellate counsel was ineffective for failing to raise a

prosecutorial misconduct argument in his post-conviction PLA (Dkt 17, Exh F at 3).

However, Grady did not raise this issue in the appellate court as required. See

generally Dkt. 17, Exh. J. Grady also does not argue to this Court any cause for the

default or prejudice arising from the default in his briefing. Grady does assert that

he is not guilty of first-degree murder, but that does not meet the required standard

for a “claim of innocence” to excuse default. A claim of innocence is only credible when

a petitioner “support[s] his allegations of constitutional error with new reliable

evidence whether it be exculpatory scientific evidence, trustworthy eyewitness

accounts, or critical physical evidence-that was not presented at trial.” Schlup v. Delo,

513 U.S. 298, 324, 115 S. Ct. 851, 851 (1995). As a result, his petition on this specific

claim is procedurally defaulted.

      E.     A Certificate of Appealability Is Warranted

      If Grady wishes to appeal this denial, he must first obtain a certificate of

appealability. Under 28 U.S.C.§ 2253, “an appeal may not be taken to the court of

appeals from the final order in a habeas corpus proceeding in which the detention

complained of arises out of process issued by a state court” unless the circuit justice

or judge first issues the certificate. 28 U.S.C.§ 2253(c)(1)(A). A certificate of

appealability may issue only when “the applicant has made a substantial showing of




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the denial of a constitutional right.” 28 U.S.C.§ 2253(c)(2). To make a substantial

showing, a petitioner must show that “reasonable jurists could debate whether…the

petition should have been resolved in a different manner or that the issues presented

were adequate to deserve encouragement to proceed further.” Miller-El v. Cockrell,

537 U.S. 322, 336, 123 S. Ct. 1029, 154 L. Ed. 2d 931 (2003) (internal quotation marks

and citations omitted). The Court issues a certificate of appealability on Grady’s

ineffective assistance of counsel claim because reasonable jurists could differ on the

question of whether the state appellate court reasonably addressed the inconsistent

verdicts under Strickland.

   II.    Conclusion

   For the stated reasons, Grady’s Petition for a Writ of Habeas Corpus [1] is denied,

and a certificate of appealability will issue.



                                                 E N T E R:




 Dated: October 28, 2021

                                                 MARY M. ROWLAND
                                                 United States District Judge




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                          CERTIFICATE OF SERVICE

      I certify that on November 23, 2022, I electronically filed the foregoing

appendix with the Clerk of the Court for the United States Court of Appeals for the

Seventh Circuit by using the CM/ECF system. I certify that all participants in the

case are registered CM/ECF users and that the following counsel of record will be

served electronically (see Cir. R. 25(d)):

      Katherine M. Doersch
      Office of the Illinois Attorney General
      100 West Randolph Street,
      State of Illinois Center
      Chicago, IL 60601

Counsel for Appellee David Gomez

      I further certify that, in compliance with this Court’s forthcoming order, I

will transmit to the Clerk 15 copies of the short appendix (bound with the brief)

and 10 copies of the remainder of the appendix. See Cir. R. 31(b).




                                         /s/ Kelly M. Ellis



Dated: November 23, 2022
